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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :
v.                                   :   No.: 21-cr-246 (ABJ)
                                     :
DANIEL RODRIGUEZ (1)                 :
EDWARD BADALIAN (2)                  :
                                     :
                   Defendant.        :
____________________________________:

                    SUPPLEMENTAL GOVENRMENT EXHIBIT LIST

       Pursuant to this Court’s Order on September 14, 2022 (ECF No. 122) and Minute Order

on February 1, 2023, the United States files this supplement to add four additional videos and two

transcripts for stipulated testimony to its proposed exhibit list. Exhibits 318 and 319 were

inadvertently omitted from the previous list, but have been disclosed in prior discovery. Exhibits

320 and 321 are newly discovered by the government since the previous deadline for exhibits, and

have since been provided to defense counsel. Exhibits 1101 and 1102 are transcripts for stipulated

testimony, and have been provided to defense counsel. Defense counsel for Mr. Badalian has noted

his corresponding objections in the attached list. As the parties anticipate disposition with respect

to Daniel Rodriguez, no objections are noted for Mr. Rodriguez on these exhibits. However, should

the disposition not be reached, Mr. Rodriguez’s counsel has previously noted their objection to

any stipulated testimony; Exhibits 1101 and 1102 would be withdrawn in that instance.


                                                      Respectfully submitted,

                                                      MATTHEW M. GRAVES
                                                      UNITED STATES ATTORNEY
                                                      D.C. Bar No. 481052
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